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ORTIZ & ORTIZ, L.L.P.                                        Hearing Date: October 20, 2021
287 Park Avenue South, Suite 213                                    Time: 10:00 a.m.
New York, New York 10010
Tel. (718) 522-1117
email@ortizandortiz.com
Norma E. Ortiz, Esq.
Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------x
In re

CERTA DOSE, INC.,                                            Case No.: 21-11045-LGB

                                                             Chapter 11
                              Debtor.

-------------------------------x

    NOTICE OF HEARING ON DEBTORS’ APPLICATION FOR AN ORDER
 AUTHORIZING THE EMPLOYMENT AND RETENTION OF HUEBSCHER & CO.
         EFFECTIVE NUNC PRO TUNC TO SEPTEMBER 12, 2021,
                     AS FINANCIAL ADVISOR

        PLEASE TAKE NOTICE, that a TELEPHONIC hearing to consider the annexed
Application dated September 26, 2021 (the “Application”) of Certa Dose, Inc. (the Debtor), the
undersigned will move before the Honorable Lisa G. Beckerman, U.S. Bankruptcy Judge,
October 20, 2021, at 10:00 a.m., in the United States Bankruptcy Court, Southern District of
New York, One Bowling Green, New York, New York 10004, or as soon thereafter as counsel
may be heard, for the entry of an order permitting the Debtor to retain Huebscher & Co. as the
Debtor’s Financial Advisor. The Debtor may request such other and further relief as is just and
equitable. If you intend to participate in the telephonic hearing, you must register online with
Court Solutions at www.court-solutions.com at least one business day before the scheduled
hearing. Instructions for appearing at the hearing can be found at
https://www.nysb.uscourts.gov/content/judge-lisa-g-beckerman.

       PLEASE TAKE FURTHER NOTICE, that you need not appear at the aforesaid
hearing if you do not object to the Application.

        PLEASE TAKE FURTHER NOTICE, that objections, if any, to the relief requested in
the Application must be made in writing and must be filed with the Clerk of the Bankruptcy
Court electronically at www.nysb.uscourts.gov. If you do not have the ability to file an objection
electronically, the objection may be filed with the Clerk of the Court by presenting the Clerk with
a copy of the objection saved in .pdf format. A copy of the objection must be provided to (a) the
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Chambers of the Honorable Lisa G. Beckerman, (b) Ortiz & Ortiz, LLP, at the address listed
below, and (c) to Paul Schwartzberg, Esq., Office of the U.S. Trustee, by email to all parties
filing Notices of Appearance, so as to be received no later than seven (7) days prior to the
hearing. The objection must comply with the Bankruptcy Rules and the Local Bankruptcy Rules
of the court and must state with particularity the legal and factual bases for such objection.

Dated: September 26, 2021
New York, New York

                                                    /s/Norma E. Ortiz
                                                   Norma E. Ortiz, Esq.
                                                   Ortiz & Ortiz, .L.P.
                                                   287 Park Avenue South, Suite 213
                                                   New York, New York 10010
                                                   Tel. (718) 522-1117
                                                   Fax (718) 596-1302
                                                   Email@ortizandortiz.com
                                                   Attorneys for the Debtor
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ORTIZ & ORTIZ, L.L.P.
287 Park Avenue South, Suite 213
New York, New York 10010
Tel. (718) 522-1117
Fax (718) 596-1302
email@ortizandortiz.com
Norma E. Ortiz, Esq.
Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------x
In re

CERTA DOSE, INC.,                                                   Case No.: 21-11045-LGB

                                                                    Chapter 11
     Debtor.
-------------------------------x

 APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE EMPLOYMENT
  AND RETENTION OF HUEBSCHER & CO., EFFECTIVE NUNC PRO TUNC TO
       SEPTEMBER 12, 2021, AS THE DEBTOR’S FINANCIAL ADVISOR

TO THE HONORABLE LISA G. BECKERMAN,
UNITED STATES BANKRUPTCY JUDGE:

       Certa Dose, Inc. (the “Debtor”), by its attorneys Ortiz & Ortiz, L.L.P. (“O & O”), hereby

submits this application (the “Application”) for the entry of an order authorizing the Debtor to

employ Huebscher & Co. (“H & C”) as of September 12, 2021, to serve as the Debtor’s

Financial Advisor. In further support of this Application, the Debtor states as follows:

                                        BACKGROUND

       1.      On May 30, 2021 (the “Petition Date”), the Debtor filed a petition for relief under

Chapter 11. The Debtor has operated as a debtor-in-possession pursuant to 11 U.S.C § 1107

since the Petition Date. No unsecured creditors committee has been appointed in this case.

       2.      The principal business of the Debtor is developing, selling and licensing its

pharmaceutical products and technology. The Debtor commenced this proceeding to affect a
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balance sheet reorganization stemming from disputes with a number of shareholders and

creditors. The Debtor has a small number of employees and has not sought the retention of an

accounting or financial firm since the Petition Date. The Debtor is in need of financial

assistance and advisory services so that it may timely file Monthly Operating Reports, as

required by the Guidelines of the Office of the U.S. Trustee, restructure its business, and

prosecute a plan of reorganization.

       3.      The Debtor entered into an Advisory Agreement (the “Agreement”) with H & C,

a middle market business restructuring firm, which maintains its offices at 630 3rd Avenue, 21st

Floor, New York, NY 10017, on September 12, 2021. A copy of the agreement is annexed as

Exhibit A. The Debtor’s controller resigned in August and the Debtor fell behind on its

obligation to file Monthly Operating Reports. H & C agreed to immediately assist the Debtor

and commenced rendering services at the Debtor’s request on September 12, 2021. H & C

assisted the Debtor in completing and filing its July 2021 monthly operating report.

       4.      As set forth in the Agreement, H & C has agreed to provide the Debtor with the

following services: Engage in credit facility negotiations, including waiver, amendments,

extensions and potential debtor-in- possession financing efforts; assist the company in evaluating

indications of interest and proposals regarding any transaction from potential acquirors and or

investors; manage the preparation of reporting related to the restructuring process; analyze the

business and financial impact of various restructuring initiatives; provide the company other

appropriate general restructuring advice; assist and provide guidance with the preparation of

monthly operating reports; and provide strategic financial advice regarding legal strategies.

       5.      In exchange for those services, H & C has agreed to commence rendering services

to the Debtor, by billing on a fixed hourly rate, without an advance payment of fees. Moreover,

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the hourly rates agreed to by the Debtor and H & C are at or below the rates customarily billed in

this District and are indisputably reasonable for a case of this size and complexity. As set forth

in the Agreement, Mr. Huebscher’s rates do not exceed $425 an hour; the rates billed for

Managing Directors of the firm do not exceed $375 an hour; the rates billed for Senior

Consultants and Directors do not exceed $325 an hour; and the rates for all other professional

staff is $150 an hour. H & C does not seek any other compensation, such as a success fee or a

restructuring fee. The Agreement contains standard indemnification and hold harmless

provisions that were fully negotiated by the Debtor and H & C at arm’s-length and in good faith.

These provisions are reasonable and appropriate and are customarily employed in financial

advisory engagements in chapter 11 cases. The Debtor submits that the terms of the Agreement

are fair and reasonable under the circumstances of this case.

       6.      H & C is eminently qualified to assist the Debtor with its financial and

restructuring needs. Eric M. Huebscher, the president of H & C, has over 30 years of accounting

and restructuring experience and has extensive experience in the health care industry. As set

forth in greater detail in the Declaration of Disinterestedness annexed as Exhibit B, Mr.

Huebscher has helped many companies in distress in both an advisory and a managerial capacity

and as a court-appointed restructuring professional. As a result, H & C has the expertise and

willingness to provide the Debtor with the services that are needed. Mr. Huebscher serves on the

panel of Sub-Chapter V Trustees for the Southern and Eastern Districts of New York and

regularly oversees the reorganization of a wide range of Chapter 11 debtors. Mr. Huebscher’s

extensive health care industry experience and restructuring expertise will be very valuable to the

Debtor’s reorganization.

       7.      As set forth in Mr. Huebscher’s Declaration, H & C does not hold or represent an

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interest adverse to the Debtor’s estate in the matters upon which H & C is to be employed and is

“disinterested” as that term is defined in the Bankruptcy Code. H & C had no prior contact with

the Debtor or Dr. Caleb S. Hernandez until the firm discussed its engagement with the Debtor on

or about September 10, 2021. H & C reviewed the List of Parties-in-Interest prepared by the

Debtor and the Amended List of Equity Security Holders filed with the court [Ecf. No. 74]

before conducting an internal conflict of interests search and determined that it has no

relationship or connection with the parties in this case.

                                         JURISDICTION

       8.      The United States Bankruptcy Court for the Southern District of New York has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. §§

1408 and 1409. The statutory and legal predicates for the relief requested are 11 U.S.C. §§

327(a) and 328(a), Fed. R. Bankr. P. 2014(a), and Local Rules 2014-1 and 2016-1.

                                     RELIEF REQUESTED

       9.      The Debtor requests that the Court approve its retention of H & C as its financial

advisor pursuant to 11 U.S.C. §§327(a) and 328(a) to provide the much needed services set forth

herein and in the Agreement. Section 328(a) provides in relevant part that a debtor in

possession, “with the court’s approval, may employ or authorize the employment of a

professional person under section 327 . . . on any reasonable terms and conditions of

employment, including on a retainer, on an hourly basis, on a fixed or percentage fee

basis, or on a contingent fee basis.” 11 U.S.C. § 328(a). Section 327(a) authorizes a debtor in

possession to employ professionals that “do not hold or represent an interest adverse to the

estate, and that are disinterested persons.” 11 U.S.C. § 327(a). H & C has the professional

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qualifications to serve in this capacity and meets the disinterestedness requirements of Section

327. Moreover, the proposed terms of H & C’s engagement are eminently reasonable and

should be approved by the Court. The Debtor is in need of H & C’s services and advice to

promptly proceed with its reorganization. H & C has agreed to apply to the Court for the

allowance of compensation and reimbursement of expenses in accordance with applicable

provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the Local

Rules and orders of the Court. For these reasons, the Debtor’s request should be granted.

           10.    No previous application for the relief requested herein has been made to this or

any other court.

           WHEREFORE, the Debtor respectfully requests the entry of an order substantially in the

form of the prefixed order granting the relief requested herein and such other and further relief as

is just.

Dated: September 26, 2021
       New York, New York

                                                               /s/Norma E. Ortiz
                                                               Norma E. Ortiz, Esq.
                                                               Ortiz & Ortiz, L.L.P.
                                                               287 Park Avenue South, Ste. 213
                                                               New York, New York 10010
                                                               Tel. (718) 522-1117
                                                               Debtor’s Counsel




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                                   Exhibit A
                               Advisory Agreement
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                                   Exhibit B
                          Declaration of Disinterestedness
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                               Certa Dose Inc., Case No. 21-11045-lgb

             Parties-in-Interest Reviewed for Current and Recent Former Relationships
Unless otherwise noted in the comments section below, a search of Ortiz & Ortiz LLP’s (“O & O) books
 and records showed no connection or prior contact with the parties listed below until the firm was first
                  engaged to serve as Debtor’s proposed counsel on March 28, 2021.
O & O reserves its right to amend this list in the event that additional parties become known to the firm
                                                     .
                                            CREDITORS


          PARTY                                              COMMENT


Alan Young Synn               None.

Anthony R. Mayer              None.

Brian Harrington              None.

Caleb Hernandez               None.

Chase Cardmember Service      None.

Clarus R+D                    None.

Cooley LLP                    Cooley LLP may have represented a party in a prior case in which O & O
                              has served as counsel. O & O has no other prior connection to the firm.

COPIC Insurance Company       None.
Davis Hurley                  None.
Fortis Law Partners           None.
Geraldine Lewis-Jenkins       None.
Internal Revenue Service      O & O has no connection to this creditor other than in connection with its
                              participation as a creditor in bankruptcy cases in which the firm serves as
                              counsel and in the ordinary course of O & O’s business.
John Blood                    None.
Kathleen Driscoll, Trustee of None.
the LFD III GRAT
Liu Shen & Associates         None.
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Massachusetts Department of None.
Revenue
Matthew Fleishman            None.
McKesson                     None.
Neugeboren O'Dowd PC         None.
New York Genome Center       None.
Niles Cole                   None.
NYS Dept. of Tax and         O & O has no connection to this creditor other than in connection with its
Finance                      participation as a creditor in bankruptcy cases and in the ordinary course
                             of O & O’s business.
Pacific Western Bank         None.
Phoebe Fisher                None.
Stephen R. Hoffenberg        None.
Stiplastics Healthcaring     None.
Theodore Clarke              None.
Thomas S. Cowan              None.
U.S. Small Business          O & O has no connection to this creditor other than in connection with its
Administration               participation as a creditor in bankruptcy cases and in the ordinary course
                             of O & O’s business.
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                             SHAREHOLDERS OF CERTA DOSE


          PARTY                                   COMMENT


Caleb Hernandez              None.

Daniel L. Hoffman            None.

Eric Eisbrenner              None.


Gregory T. Walker            None.

Larry Miller                 None.

Daniel Miller                None.

Daniel Lee Miller Jr.        None.

Eric B. Olsen                None.

Andrew Glaser                None.

Anthony G. Ingram Trust      None.

Audrey Rogers                None.

Rodney Rogers                None.

David Friedenson             None.

Donald A. Miller             None.

Erik Michael Allison         None.

Jeffrey Alvin Dorsey         None.

Mark A. Notash               None.

Michael Fallon               None.

Natasha L. Allison           None.

Nils Albert                  None.
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Pier DeSanctis                None.

Robert Willoughby             None.

Sandra Escobar                None.

Sandra L. Horowitz            None.

Seth Peacock                  None.

Todd Schaefer                 None.

Lavonne Clifford              None.

Shane Clifford                None.

Deborah Sizemore              None.

Donald Sizemore               None.

Chris Lowry                   None.

Tom Henshaw                   None.

Patricia Golkowski            None.
                                 OFFICE OF THE U.S. TRUSTEE


            PARTY                                     COMMENT


Office of the U.S. Trustee    Norma E. Ortiz was an employee of the Office of the U.S.
                              Trustee in the Southern District of New York from
                              approximately 1990 through 1996.

Paul K. Schwartzberg          O & O has worked in its capacity as Debtor’s or creditor’s
                              counsel with Mr. Schwartzberg in numerous bankruptcy cases.
                              O & O has no other connection to Mr. Schwartzberg.

Joseph Nadkarni               O & O has worked in its capacity as Debtor’s or creditor’s
                              counsel with Mr. Nadkarni in numerous bankruptcy cases. O &
                              O has no other connection to Mr. Nadkarni.
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                            CHAMBERS OF U.S. BANKRUPTCY JUDGE


          PARTY                                         COMMENT


Judge Lisa G. Beckerman       Norma E. Ortiz may have worked on matters with Judge
                              Beckerman while she was in private practice in a limited
                              professional capacity while serving as an employee for the U.S.
                              Trustee’s Office in the 1990’s. O & O’s records do not reflect any
                              connection to Judge Beckerman other than the firm’s appearance
                              before Judge Beckerman in bankruptcy cases.

Chantel Barrett               O & O has worked solely in a professional capacity with Ms.
                              Barrett in numerous bankruptcy cases. O & O has no other
                              connection to Ms. Barrett.

Shirin Mahkamova              None.

Jennifer Schein               None.
                                  OFFICERS OF CERTA DOSE


          PARTY                                         COMMENT


Caleb Hernandez               None.

Chris Karageorge              None.

Daniel L. Hoffman             None.

John Blood (former)           None.

Eric Eisbrenner (former)      None.

Larry Miller (former)         None.


Sarah Hanssen (former)        None.
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                           BOARD OF DIRECTORS OF CERTA DOSE


          PARTY                                       COMMENT


Caleb Hernandez              None.

Daniel L. Hoffman            None.

Shane Jones                  None.


Audrey Rogers                None.


Steve Rubin                  None.


Steve Hoffenberg             None.


Larry Miller                 None.


                            EMPLOYEES OF ORTIZ & ORTIZ, LLP


          PARTY                                     COMMENT


Norma E. Ortiz               None other than described above and below.

Cynthia Narea                None.

Nicolas Santacruz            None.


                                EMPLOYEES OF CERTA DOSE


          PARTY                                     COMMENT


Patricia Golkowskki          None.
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Megan Sinclair                 None.

Chris Lowry                    None.

Tom Henshaw                    None.

Caleb Hernandez                None.

Daniel L. Hoffman              None.

Chris Karageorge               None.

Katie McIntyre (former)        None.


Ezra Kelderman (former)        None.


Marjorie Sutherland (former) None.


Bill Titcomb (former)          None.


Dewey Simms (former)           None.


Nick Kosik (former)            None.


Stella Farquharson (former)    None.


John Blood (former)            None.


Tom Nonnemaker (former)        None.


Colin Reutter (former)         None.


Greg Walker (former)           None.
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Josue Hernandez               Josue Hernandez presently serves as the Debtor’s in-house
                              counsel. Norma E. Ortiz met with Mr. Hernandez in a
                              professional capacity for approximately 30 minutes in 2007 to
                              discuss potential employment with the firm. Norma E. Ortiz
                              and O & O had no further communication or connection with
                              Mr. Hernandez after that meeting until O & O was contacted to
                              discuss a possible bankruptcy filing for the Debtor on or about
                              May 26, 2021.



                              PROFFESSIONALS OF CERTA DOSE


          PARTY                                           COMMENT


Denver Contract Law           Josue Hernandez, the principal of this law firm, previously served as
                              outside counsel to the Debtor. Norma E. Ortiz met with Mr.
                              Hernandez in a professional capacity for approximately 30 minutes in
                              2007 to discuss potential employment with the firm. Norma E. Ortiz
                              and O & O had no further communication or connection with Mr.
                              Hernandez after that meeting until O & O was contacted to discuss a
                              possible bankruptcy filing for the Debtor on or about May 26, 2021.

Chris Lamb, Fortis Law        None.
Partners


Charles Carlin, Fortis Law    None.
Partners

James A. Boiani (Epstein      None.
Becker & Green)

Christopher Smith (Epstein    None.
Becker & Green)

Jessika Tuazon (Epstein       None.
Becker & Green)

Bonnie Scott (Epstein Becker None.
& Green)

Anne Holland (QA              None.
Consulting Inc.)
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Mallori Groh (QA Consulting None.
Inc.)

Amber Hilfiger (QA         None.
Consulting Inc.)

Megan Smolik (Emergo)      None.

Lauren Luke (Emergo)       None.

Robert Seiple (Emergo)     None.

Gretchen Upton (QA/RA      None.
Consultant)

Jon Speer (Greenlight Guru) None.

Zach Peach (Greenlight     None.
Guru)

Tom Rish (Greenlight Guru) None.

Christopher Rush (FDA      None.
Quality and Regulatory
Consultants)

Ashley French (Agilis      None.
Consulting Group)

Melissa Lemke (Agilis      None.
Consulting Group)

Bryan Jobe (Avomeen        None.
Analytical Services)

Claire Howlett (Sirum)     None.




                                VENDORS OF CERTA DOSE


          PARTY                                    COMMENT


3C Packaging               None.
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Calument Carton Company      None.

Cardinal Health              None.

Computype                    None.

HSC.TV                       None.

Lighting Labels              None.

Nautilus                     None.

Packaging Corporation of     None.
America DBA Field
Packaging Group

Par Pharmaceuticals          None.

PlasTech Engineering         None.

Practical Packaging          None.
Solutions, Inc.

SMC LTD, Manufacturing       None.
Facility

Steven Label/Robinson        None.
Printing

StiPlastics                  None.

The Perfect Measuring Tape None.
Company

Unified Global               None.

Fresenius Kabi USA           None.
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                            PROPOSED ORDER
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------x
In re

CERTA DOSE, INC.,                                            Case No.: 21-11045-LGB

                                                             Chapter 11
                          Debtor.
-------------------------------x

       Upon the application (the "Application") of Certa Dose, Inc., as Debtor and Debtor in

possession (the "Debtor"), dated September 26, 2021, for the entry of an order pursuant to 11

U.S.C. § 327(a) authorizing and approving the employment of Huebscher & Co. (“ H & C”) as

its financial advisor; upon the Declaration of Eric M. Huebscher; and it appearing that H & C

represents no interest adverse to the Debtor and its estate as to the matters upon which it is to be

engaged and is disinterested under 11 U.S.C. § 101(14), and that the employment of H & C is

necessary and in the best interest of the Debtor and its estate; due notice of the Application

having been given, and it appearing that no other or further notice need be given; sufficient

cause appearing therefore, it is

       ORDERED, that the Application is granted in all respects; and it is further

       ORDERED, that pursuant to 11 U.S.C. § 327(a) of the Bankruptcy Code, the Debtor is

authorized to employ H & C under the terms and conditions set forth in the Application and the

Advisory Agreement annexed to the Application; and it is further

       ORDERED, that prior to any increases in H & C's rates, the firm shall file a

supplemental declaration with the Court and provide ten business days' notice to the Debtor,

the United States Trustee of the proposed changes. The supplemental declaration shall explain

the bases for the requested rate increases in accordance with Section 330(a)(3)(F) of the

Bankruptcy Code and state whether the Debtor has consented to the rate increase. The United
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States Trustee retains all rights to object to any rate increase on all grounds including, but not

limited to, the reasonableness standard provided for in Section 330 of the Bankruptcy Code, and

the Court retains the right to review any rate increase pursuant to Section 330 of the Bankruptcy

Code; and it is further

        ORDERED, that no compensation or reimbursement of expenses shall be paid to H & C

for professional services rendered to the Debtor except upon proper application and by further

order of this Court, and will be subject to notice and hearing pursuant to Sections 330 and 331 of

the Bankruptcy Code, Rule 2016 of the Federal Rules of Bankruptcy Procedure, and will comply

with the U.S. Trustee's Guidelines for Fees and Disbursements for Professionals.

October ___, 2021
New York, New York


                                                             _____________________________
                                                             Lisa G. Beckerman
                                                             U.S. Bankruptcy Judge




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